                               NO. 07-11-0432-CR

                            IN THE COURT OF APPEALS

                       FOR THE SEVENTH DISTRICT OF TEXAS

                                  AT AMARILLO

                                    PANEL C

                                 JUNE 26, 2012

                        ______________________________


                        BRIANN NICOLE WILSON, APPELLANT

                                      V.

                         THE STATE OF TEXAS, APPELLEE


                       _________________________________

              FROM THE 181[ST] DISTRICT COURT OF RANDALL COUNTY;

                   NO. 19411-B; HONORABLE JOHN BOARD, JUDGE

                        _______________________________

Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.
                              MEMORANDUM OPINION
Appellant, Briann Nicole Wilson, perfected this appeal from the trial court's judgment revoking her community supervision which had been granted for the offense of tampering with evidence.  Punishment was assessed at eight years confinement and a $500 fine.
Pending before this Court is Appellant's Motion to Dismiss Appeal in which she represents she wishes to withdraw her notice of appeal.  As required by Rule 42.2(a) of the Texas Rules of Appellate Procedure, the motion is signed by Appellant and her attorney.  No decision of this Court having been delivered, the motion is granted and the appeal is dismissed.  No motion for rehearing will be entertained and our mandate will issue forthwith.
							Patrick A. Pirtle
							      Justice

Do not publish.

                                       
                                       
                                       
							


